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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                               §
                                                     §       Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                           §       Chapter 11 (Subchapter V)
                                                     §
         Debtor.                                     §

                       NOTICE OF WITHDRAWAL OF DOCUMENT
                               [Relates to ECF No. 719]

        PLEASE TAKE NOTICE Free Speech Systems, LLC. hereby withdraws Debtor-In-
Possession Monthly Operating Report for Filing Period ending 6/30/2023 [Dkt. 719] filed on September
19, 2023, as errantly filed in this case.,

         Respectfully submitted this September 19, 2023.

                                              THE LAW OFFICES OF RAY BATTAGLIA, PLLC.
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                                              San Antonio, Texas 78218
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                                              By: /s/ Raymond W. Battaglia
                                                    Raymond W. Battaglia
                                                    Texas Bar No. 01918055

                                               ATTORNEYS FOR THE DEBTOR IN
                                               POSSESSION
